EXHIBIT 4
                                                                                                       Filed: 9/21/2021 9:01 AM
                                                                                                       Judge, Superior Court 11
                                                                                                          Grant County, Indiana


                             GRANT COUNTY COMMUNITY;CORRECTIONS
                                             V
                                                           •••                                                      I




  Phone 765-668-6528                                                                     501
                                                                                         50] South
                                                                                             South Adams Street
                                                                                                           Street
  Fax 765-668-4242                                                                       Marion,
                                                                                         Marion, Indiana
                                                                                                 Indiana 46953




  September 21,
            21, 2021
                202]


  Judge
  Judge Jeffrey
        Jeffrey Todd
  Grant County
        County Superior
                Superior Court
                         Court II
  Marion, Indiana
  Marion, Indiana

  RE:     Ryan McMullen
          27D01-0904-FA-134
          27D0 -0904—FA~134
                   l




  Dear Judge Todd:

  I am pleased
  I    pleased to
                to inform
                   inform the
                          the court that the
                              court that the defendant   has successfully
                                             defendant has   successfully completed the
                                                                                      the period
                                                                                          period of
                                                                                                 0f home
  detention
  detention as
            as ordered  by the
               ordered by  the court. In addition,
                               court. In            the defendant
                                          addition, the            has fulﬁlled
                                                        defendant has  Mlfilled the
                                                                                the financial
                                                                                    ﬁnancial obligation
                                                                                              obligation of the
                                                                                                            the
  program.
  program.


  If there
  If there are
           are any
               any questions, please feel
                   questions, please feel free
                                          free to
                                               to contact
                                                  contact this
                                                          this officer.
                                                               ofﬁcer.




  Respectflly,
  Respectfully,

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  Seth
  Seth Hunter
  Case Manager
       Manager// Probation
                 Probation Officer
                           Ofﬁcer
